oO Fy ARR LY SBT Filed 84/20/11 rage 3 of 3

_ IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 2178 Rec. Doc. 982°.“
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 102771)“ 8

MDL 2179

INDIVIDUAL CLAIM:
Employer Name ~
Job Title / Description

City / State / Zip

Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number 4
Attomey Name ' Firm Neme

Address . City / State / Zip

Phone Number E-Madl Address

Claim filed with BP? YES RY nog Claim Filed wth GCCF?: YES a NO TC
ifyes, BP Claim No.: u 2 : 27 S tyes, Claimant Identification No. : | | 2 ) 357

Claim Type (Please check afl tat appty):
Damage or destruction to real or personal property Wf Fear of Future injury and/or Medical Monitoring
Earnings/Prafit Logs Loss of Subsistence use of Natural Resources
Personal Injury/Desth p Removal andior clean-up costs

This form shoufd be filed with the U.S. District Court for the Easter District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70136, In Civil Action No.
10-8888. White this Direct Filling Short Form is to be filed in CA Ne. 10-8888, by prior order of the Court, (Rec. Doc. 245, C4. No. 10-2771 and Rec. Dec. 982 In MDL
1179), the filing of this form In CA. No. 10-8388 shall be deemed to be strnuttaneously filed In CA. 10-2771 and MDL 2179. Plaintiff Laison Counsel, after being
\otified electronically by the Clerk of Court of the filing of this Short Form, stall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shell also serve in teu of the requiramont of a Plaintif to fife a PleintiT Profile Form.

46 ev O888GCIB-ICW Document 79347 Filed 04/20/41 Page 2 of 3 I

injury. For claims

Brief Description:
subsistence claims, describe the ature of the
— identi 1 ercial) and whether physical

1. For eamings/profit loss, property damage and loss of
include prope location, type of property {residential/conmy 1
nolude te y and location of fishing grounds at Issue.

involving real estate/property, |
tred. For claims retating to fishl

damage occu

se, (dee Were

p:| epitl.

(De ost income bela
unable +f) work dug +0

mow and when it was sustained, and identiy all health care providers end

2. For personal injury claims, describe the injury,
forms for each.

employers 2008 to present and complete

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

2
The
filing of this Direct Filing Short Form shall also serve in feu of tre requirement of a Plaintiff to fife a Plaintiff Profile Form
Case 2:10-cv-08888-CJB-JCW Document 79347 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
: ia Et 5 P De } ans {6 a4

1. | Commercial fisherman, shrimpar, crabber, or oystemman, of the owner and operator of a business involving fishing, shrimping,
crabbing or oystering. a
2 Seafood processor, distributor, retell and seafood market, or restaurant owner and operator, or an employee thereof.

(1 3. Recreational business owner, operator or worker, including a recreational fishing buginess, commercial guide service, or charter
fiahing business who eam their living through the use of the Guif of Mexico.

[1 4. Commercial business, business owner, operator or worker, Inchxting commercial divers, offshore olffield service, repair and
supply, real estate agents, and supply companies, or an employee thereof. . -

[] & Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0 & = Ptant and dock worker, Including commercial seafood plant worker, longshoreman, or ferry operator,

117 Owner, lessor, or fessee of real property alleged to be damaged, harmed or impacted, physically or economically, Including
lessees of oyster beds.

2) & — Hotel owner and operator, vacation rental owner and agent, of all those who eam their living from the tourism industry.
CI 9 Bank, fnenclal institution, or retail business that suffered losses as a result of the spill.

[1] 10. Person who utifizes natural resources for subsistence.

0 11. Other.

aos

eee

1] 1. Boat captain or crew Involved in the Vessels of Opportunity program.

02 Worker involved in decontaminating vessels that came Into contact with off and/or chemical dispersants.

Ci 3. Vessel captain or crew who was not involved in the Veasela of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up ectivities.

O14. Clean-up worker or beach personne! Involved in clean-up activities along shorelines and intercoastal and Intertidal zones.
[) 5. Resident who lives or works In close proximity to coastal waters.
[1 6. Other.

Both BP and the Gulf Coast Claims Facility (GCCF") are hereby authorized to release to the Defendants In MDL
2179 all information and documents submitted by above-named Plaintiff and information fegarding the status of any
payment on the claim, subject to such information being treated as "Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) fifing this form and PSC through Plaintiff Liaison Counsel.

Chali or
en
' Yi
Print
Y- J e-t1

3

The filing of this Direct Filiag Short Form shail aiso serve in teu of the requirement of a Plaintiff to fife a Plaintiff Profile Form.

